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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   UNITED STATES OF AMERICA,                              NO. MJ15-58
 9
                                     Plaintiff,
10
            v.
11                                                          DETENTION ORDER
     MIGUEL REYES-BRAVO,
12
                                     Defendant.
13

14
     Offenses charged:
15
            Count 1:        Conspiracy to Distribute Controlled Substances
16
            Count 4:        Possession of a Firearm in Furtherance of a Drug Trafficking Offense
17
     Date of Detention Hearing: February 13, 2015.
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
20
     the following:
21

22          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
            1.        Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
23
                      defendant is a flight risk and a danger to the community based on the nature of
24
                      the pending charges. Application of the presumption is appropriate in this case.
25
            2.        Defendant has a substantial history of failures to appear.
26

     DETENTION ORDER
     18 U.S.C. § 3142(i)
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 1         3.    Defendant has strong family ties in Mexico.

 2         4.    Defendant has extensive bench warrants outstanding.

 3         5.    Defendant has a history of violations of court orders, indicating an inability or

 4               unwillingness to comply with supervision.

 5         6.    There are no conditions or combination of conditions other than detention that

 6               will reasonably assure the appearance of defendant as required or ensure the

 7               safety of the community.

 8         IT IS THEREFORE ORDERED:
 9         (1)   Defendant shall be detained and shall be committed to the custody of the
10               Attorney General for confinement in a correction facility separate, to the extent
11               practicable, from persons awaiting or serving sentences or being held in custody
12               pending appeal;
13         (2)   Defendant shall be afforded reasonable opportunity for private consultation with
14               counsel;
15         (3)   On order of a court of the United States or on request of an attorney for the
16               government, the person in charge of the corrections facility in which defendant
17               is confined shall deliver the defendant to a United States Marshal for the
18               purpose of an appearance in connection with a court proceeding; and
19         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
20               counsel for the defendant, to the United States Marshal, and to the United States
21               Pretrial Services Officer.
22         DATED this 13th day of February, 2015.
23

24
                                                A
                                                JAMES P. DONOHUE
25                                              United States Magistrate Judge

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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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